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                          UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF IDAHO


 In re:                                                Case No. 20-40074-JMM

 MIKE TERRANCE TRACY                                   Chapter 13

                         Debtor.

 KATHLEEN MCCALLISTER, as Chapter 13                   Adversary Case No. 21-08018-JMM
 Trustee for the above-referenced bankruptcy
 estate,                                               STIPULATION TO DISMISS
                Plaintiff,
 v.

 NANCY KUNAU, individually,
          Defendant.

                                   STIPULATION TO DISMISS

          COMES NOW the Plaintiff, Kathleen A. McCallister, standing Chapter 13 Trustee for

the United States Bankruptcy Court for the District of Idaho, by and through her attorney, Jeffrey

P. Kaufman, on one side and the Defendant, Dr. Nancy Kunau, by and through her attorney of

record, Paul Ross, of Idaho Bankruptcy Law, on the other side and stipulate as follows:

                                            RECITALS

          1.     Against Debtor, Dr. Kunau holds a pre-petition claim for $17,660.38. The

majority of Dr. Kunau’s claim stems from a January 3, 2020, Partial Judgment for Fees and

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Costs entered in her favor and against Debtor in the amount of $17,303.00 by the Cassia County,

Idaho State Court. Said judgment accrued pre-petition interest in the amount of $84.44 prior to

the Debtor initiating his bankruptcy case. Debtor also incurred additional post-judgment, pre-

petition debt to Dr. Kunau in the amount of $272.94.

       2.      The judgment lien at issue in this case was created when Dr. Kunau recorded her

Partial Judgment for Fees and Costs with the Cassia County Recorder’s office on January 6,

2020, as instrument No. 2020000044.

       3.      But for the judgment lien, Dr. Kunau would hold an unsecured claim for a

domestic support obligation entitled to 11 U.S.C. § 507(a)(1)(A) priority status in the amount of

$17,660.44. Such claim is fully nondischargeable.

       4.      Trustee initiated this adversary proceeding to avoid Dr. Kunau’s judgment lien

pursuant to 11 U.S.C. § 547. Dr. Kunau opposed the avoidance of her judgment lien. Central to

the parties’ dispute is the post-petition interest accruing on the judgment. Trustee contends that

unless the lien is avoided, the judgment lien will accrue post-petition interest. Dr. Kunau

contends that the value of the lien, regardless of any interest that it may accrue, is less than what

she would have received had the case been filed under chapter 7.

       5.      The parties have agreed to resolve the pending adversary proceeding by way of

the agreement reached herein.

                                          STIPULATION

       Subject to Court approval, the parties hereby stipulate and agree as follows:

       6.      Dr. Kunau’s judgment lien remains unavoided.



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       7.      Dr. Kunau waives all interest on the judgment. Such waiver will continue forever

unless Debtor does not obtain a discharge in the present case.

       8.      That Debtor’s plan does not need to provide for payment of any interest on

account of Dr. Kunau’s judgment. Dr. Kunau agrees to the plan being modified to remove such

provision from Debtor’s plan, if any.

       9.      The present Adversary Proceeding is dismissed with prejudice. All set hearings

and trial are vacated.




DATED: January 25th, 2022                     OFFICE OF KATHLEEN A. McCALLISTER,
                                                   CHAPTER 13 TRUSTEE

                                              By: /s/ Jeffrey P. Kaufman
                                                      Jeffrey P. Kaufman,
                                                      Attorney for Plaintiff

DATED: January 24th, 2022                     IDAHO BANKRUPTCY LAW



                                              By: /s/ Paul Ross
                                                      Paul Ross, of the firm,
                                                      Attorney for Defendant

DATED: January ____, 2022

                                              By: /s/ Dr. Nancy Kunau
                                                      Dr. Nancy Kunau, Defendant




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                                CERTIFICATE OF SERVICE

        I, HEREBY CERTIFY that on January 25, 2022, I filed the foregoing electronically
through the CM/ECF system, which caused the following parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing:

        Paul Ross, Attorney at Law
        paul@idbankruptcylaw.com

      AND I FURTHER CERTIFY that on said date, I served the foregoing on the following
non-CM/ECF Registered Participants in the manner indicated:

       Via first class mail, postage prepaid addressed as follows:

       None

                                                                        /s/ Jeffrey P. Kaufman
                                                                            Jeffrey P. Kaufman




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